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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:18-CV-22059-FAM


 JORGE L MENDEZ, FELIPE RAUL LA                   )
 ROSA, PEDRO GARCIA PEREZ and all                 )
 others similarly situated under 29 U.S.C.        )
 216(b),                                          )
                                                  )
                    Plaintiff,                    )
        vs.                                       )
                                                  )
 INTEGRATED TECH GROUP, LLC,                      )
                                                  )
               Defendant.                         )
 _____________________________________

     FIRST AMENDED COMPLAINT UNDER 29 U.S.C. 201- 216 OVERTIME WAGE
                            VIOLATIONS1

     Plaintiffs, JORGE L MENDEZ, FELIPE RAUL LA ROSA, and PEDRO GARCIA PEREZ

 on behalf of themselves and all others similarly situated under 29 U.S.C. 216(b), through

 undersigned counsel, file this Complaint against Defendant, INTEGRATED TECH GROUP,

 LLC, and allege:

 1. This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-216.

 2. The Plaintiffs were residents of Dade County, Florida at the time that this dispute arose.

 3. The Defendant, INTEGRATED TECH GROUP, LLC, is a corporation that regularly transacts

     business within Dade County. Upon information and belief, the Defendant Corporation was




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   This First Amended Complaint is being filed pursuant to Fed. R. Civ. P. 15(a)(1)(B). Per the
 rule, a party may amend its pleading once as a matter of course within 21 days after service of a
 responsive pleading or 21 days after service of a motion under Rule 12(b),(e), or (f), whichever
 is earlier, if the pleading is one which requires a responsive pleading. Fed. R. Civ. P. 15(a)(1)(B).
 Defendants have not filed a responsive pleading or served a motion under Rule 12(b), (e), or (f),
 to date and, as such, the 21 day period has not commenced.
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    the FLSA employer for Plaintiffs’ respective period of employment (“the relevant time

    period”).

 4. All acts or omissions giving rise to this dispute took place in Dade County.


                   COUNT I. FEDERAL OVERTIME WAGE VIOLATION


 5. This action arises under the laws of the United States. This case is brought as a collective

    action under 29 USC 216(b). It is believed that the Defendant has employed several other

    similarly situated employees like Plaintiffs who have not been paid overtime and/or minimum

    wages for work performed in excess of 40 hours weekly from the filing of this complaint back

    three years.

 6. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 as this case is brought pursuant to

    The Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (section #216 for jurisdictional

    placement).

 7. 29 U.S.C. § 207 (a) (1) states, "Except as otherwise provided in this section, no employer shall

    employ any of his employees who in any workweek is engaged in commerce or in the

    production of goods for commerce, or is employed in an enterprise engaged in commerce or

    in the production of goods for commerce, for a workweek longer than forty hours unless such

    employee receives compensation for his employment in excess of the hours above specified at

    a rate not less than one and one-half times the regular rate at which he is employed.”

 8. Plaintiff JORGE L MENDEZ worked for Defendant as a cable installer/technician from on or

    about August 20, 2015 through the present and ongoing.

 9. Plaintiff FELIPE RAUL LA ROSA worked for Defendant as a cable installer/technician from

    on or about August 15, 2015 through the present and ongoing.

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 10. Plaintiff PEDRO GARCIA PEREZ worked for Defendant as a cable installer/technician from

    on or about January 21, 2016 through the present and ongoing.

 11. Defendant's business activities involve those to which the Fair Labor Standards Act applies.

    Both the Defendant’s business and the Plaintiffs’ work for the Defendant affected interstate

    commerce for the relevant time period. Plaintiffs’ work for the Defendant affected interstate

    commerce for the relevant time period because the materials and goods that Plaintiffs used on

    a constant and/or continual basis and/or that were supplied to him by the Defendant to use on

    the job moved through interstate commerce prior to and/or subsequent to Plaintiffs’ use of the

    same. The Plaintiffs’ work for the Defendant was actually in and/or so closely related to the

    movement of commerce while he worked for the Defendant that the Fair Labor Standards Act

    applies to Plaintiffs’ work for the Defendant.

 12. Additionally, Defendant regularly employed two or more employees for the relevant time

    period who handled goods or materials that travelled through interstate commerce, or used

    instrumentalities of interstate commerce, thus making Defendant’s business an enterprise

    covered under the Fair Labor Standards Act (i.e. cable wires, splicer, cable testers, wire

    connectors, pliers, etc.).

 13. Upon information and belief, the Defendant Corporation had gross sales or business done in

    excess of $500,000 annually for the years 2014, 2015, 2016, and 2017.

 14. Upon information and belief, the Defendant Corporation’s gross sales or business done is

    expected to exceed $125,000 for the first three months of the year 2018 and is expected to

    exceed $500,000 for the year 2018.

 15. Plaintiffs are proceeding under the theory of enterprise coverage and individual coverage as

    individual coverage also applies to Plaintiffs’ work.

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 16. As set forth in Thorne v. All Restoration Servs., 448 F.3d 1264, 1266-1267 (11th Cir. Fla. 2006,

                The Supreme Court has articulated that it is the intent of Congress
                to regulate only activities constituting interstate commerce, not
                activities merely affecting commerce. McLeod v. Threlkeld, 319
                U.S. 491, 497, 63 S. Ct. 1248, 87 L. Ed. 1538. [**6] Therefore,
                HN5 for an employee to be "engaged in commerce" under the
                FLSA, he must be directly participating in the actual movement of
                persons or things in interstate commerce by (i) working for an
                instrumentality of interstate commerce, e.g., transportation or
                communication industry employees, or (ii) by regularly using the
                instrumentalities of interstate commerce in his work, e.g., regular
                and recurrent use of interstate telephone, telegraph, mails, or
                travel.

 17. Plaintiffs were “engaged in commerce” as Plaintiffs were directly participating in the actual

    movement of persons or things in interstate commerce by working for an instrumentality of

    interstate commerce (e.g., communication industry employees) and by regularly using the

    instrumentalities of interstate commerce in Plaintiffs’ work (e.g. regularly and recurrently

    utilizing cable wires on interstate highways and public streets).

 18. Between the period of on or about August 20, 2015 through on or about December 31, 2017,

    Plaintiff JORGE L MENDEZ worked an average of 72 hours a week for Defendant and was

    paid an average of $10.42 per hour but was not paid the extra half time rate for all hours worked

    over 40 hours in a week as required by the Fair Labor Standards Act. Plaintiff therefore claims

    the half time overtime rate for all hours worked above 40 in a week.

 19. Between the period of on or about January 1, 2018 through the present and ongoing, Plaintiff

    JORGE L MENDEZ worked an average of 66 hours a week, including on-call hours, for

    Defendant and was paid an average of $11.36 per hour but was not paid the extra half time rate

    for all hours worked over 40 hours in a week as required by the Fair Labor Standards Act.

    Plaintiff therefore claims the half time overtime rate for all hours worked above 40 in a week.

 20. Between the period of on or about August 15, 2015 through on or about November 2, 2017,
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    Plaintiff FELIPE RAUL LA ROSA worked an average of 72 hours a week for Defendant and

    was paid an average of $10.42 per hour but was not paid the extra half time rate for all hours

    worked over 40 hours in a week as required by the Fair Labor Standards Act. Plaintiff therefore

    claims the half time overtime rate for all hours worked above 40 in a week.

 21. Between the period of on or about January 21, 2016 through the present and ongoing, Plaintiff

    PEDRO GARCIA PEREZ worked an average of 72 hours a week for Defendant and was paid

    an average of $10.42 per hour but was not paid the extra half time rate for all hours worked

    over 40 hours in a week as required by the Fair Labor Standards Act. Plaintiff therefore claims

    the half time overtime rate for all hours worked above 40 in a week.

 22. Plaintiffs acknowledge that Plaintiffs’ paystubs do reflect that Defendant paid some overtime,

    but not all overtime and not based on the correct rate of pay based on the actual hours worked

    by Plaintiffs. See, 29 C.F.R. § 778.109; See also, 29 C.F.R. § 778.112.

 23. Defendant willfully and intentionally refused to pay Plaintiffs’ overtime wages as required by

    the Fair Labor Standards Act as Defendant knew of the overtime requirements of the Fair Labor

    Standards Act and recklessly failed to investigate whether Defendant’s payroll practices were

    in accordance with the Fair Labor Standards Act. Defendant remains owing Plaintiffs these

    wages since the commencement of Plaintiffs’ employment with Defendant for the time period

    specified above.



    Wherefore, the Plaintiffs request double damages and reasonable attorney fees from

 Defendant, pursuant to the Fair Labor Standards Act as cited above, to be proven at the time of

 trial for all overtime wages still owing from Plaintiffs’ entire employment period with Defendant

 or as much as allowed by the Fair Labor Standards Act along with court costs, interest, and any

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 other relief that this Court finds reasonable under the circumstances. The Plaintiffs request a trial

 by jury.


                                                         Respectfully Submitted,

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                                                         By:__/s/ J.H. Zidell__________
                                                                J.H. Zidell, Esq.
                                                            Florida Bar Number: 0010121




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